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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                         Plaintiff,

       v.                                           CRIMINAL NO. 1:8CR03-07
                                                         (Judge Keeley)

 ZACHARY ALLEN QUEEN,

                         Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 158),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On       March    27,    2018,     the   defendant,     Zachary    Allen   Queen

 (“Queen”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Twenty-Five        of    the       Indictment.     After    Queen   stated   that   he

 understood that the magistrate judge is not a United States

 district judge, he consented to tendering his plea before the

 magistrate judge. Previously, this Court had referred the guilty

 plea to the magistrate judge for the purposes of administering the

 allocution pursuant to Federal Rule of Criminal Procedure 11,

 making     a    finding       as    to   whether   the     plea   was   knowingly   and

 voluntarily entered, and recommending to this Court whether the

 plea should be accepted.

       Based upon Queen’s statements during the plea hearing and the

 government’s proffer establishing that an independent factual basis

 for the plea existed, the magistrate judge found that Queen was
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 competent to enter a plea, that the plea was freely and voluntarily

 given, that he was aware of the nature of the charges against him

 and the consequences of his plea, and that a factual basis existed

 for the tendered plea. On March 28, 2018, the magistrate judge

 entered a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) (dkt. no. 158) finding a factual basis for the

 plea and recommending that this Court accept Queen’s plea of guilty

 to Count Twenty-Five of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Queen’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Twenty-Five of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it




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 has received and reviewed the presentence report prepared in this

 matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The Probation Officer shall undertake a presentence

 investigation of Queen, and prepare a presentence report for the

 Court;

       2.    The Government and Queen shall provide their versions of

 the offense to the probation officer by April 20, 2018;

       3.    The presentence report shall be disclosed to Queen,

 defense counsel, and the United States on or before June 20, 2018;

 however, the Probation Officer shall not disclose any sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before July 5, 2018;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before July 16, 2018; and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual basis from the statements or motions, on or before July 16,

 2018.



         The magistrate judge remanded Queen to the custody of the

 United States Marshal Service.

         The   Court   will   conduct    the   sentencing    hearing      for   the

 defendant     on   Wednesday,   July    25,   2018   at   11:30   A.M.    at   the

 Clarksburg, West Virginia point of holding court.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: April 12, 2018


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




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